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                                AFFIDAVIT
     I, Dominic Ambrosio, being duly sworn, declare and state as

follows:
                          PURPOSE OF AFFIDAVIT

     1.     This affidavit is made in support of a criminal

complaint and arrest warrant against Rodolfo HERNANDEZ Jr.

(“HERNANDEZ”) for a violation of 18 U.S.C. § 922(g)(1): Felon in

Possession of a Firearm and Ammunition.

     2.     The facts set forth in this affidavit are based upon

my personal observations; my training and experience; and

information obtained from various law enforcement personnel and

witnesses.     This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.            Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only.

           BACKGROUND OF FBI SPECIAL AGENT DOMINIC AMBROSIO

     3.     I am a Special Agent with the Federal Bureau of

Investigation (“FBI”).     I have been employed by the FBI since

January 2017.    I am currently assigned to the Los Angeles Field

Office, Ventura Resident Agency.       I attended the FBI Academy in

Quantico, Virginia, where I received 20 weeks of training on

investigating various federal violations.          During my training, I

gained experience in subject and witness interviews,
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confidential human source operations, financial investigations,

and investigating criminal enterprises.

     4.    Before becoming a Special Agent with the FBI, I

graduated from Georgetown University, with a Bachelor of Arts in

American Studies, with a Political Science focus.             I worked as a

business management consultant based in Arlington, Virginia, for

over 12 years, advising Fortune 500 clients on business strategy

in procurement, sales, and marketing.

     5.    While employed by the FBI, I previously worked for

several years assigned to the Orange County Joint Terrorism Task

Force investigating matters of national security to include

complex cases involving technical and financial activities by

actors in support of foreign adversaries of the United States,

as well as investigations related to threats by actors within

the United States.

     6.    I am currently assigned to the Ventura County Violent

Gang Task Force which investigates violent criminal conduct

related to firearms, narcotics, and violence in furtherance of

criminal street gangs for Ventura County, California area of

responsibility.    In my current assignment, I work extensively

with local partners from the Ventura County Sheriff’s Office and

multiple local police departments, including the Oxnard and

Ventura Police Departments.


                         SUMMARY OF PROBABLE CAUSE

     7.    On February 27, 2024, Oxnard Police Department (“OPD”)

detectives obtained a State of California arrest warrant for
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HERNANDEZ, who was a suspect in a robbery, in violation of

California Penal Code Section 211.         OPD officers confirmed that

HERNANDEZ had active search terms for weapons and narcotics and

that he was a convicted felon.

        8.   On February 28, 2024, OPD law enforcement surveillance

officers identified HERNANDEZ loading items into a white U-Haul

pickup truck, get into the U-Haul driver’s seat, and drive away

with a female passenger.      OPD officers conducted a felony

traffic stop of the U-Haul while it was parked in an alley and

ordered HERNANDEZ, who was in the driver’s seat, out of the U-

Haul.    OPD officers recovered a Smith & Wesson, Model 36, .38

S&W Special revolver loaded with five rounds of ammunition, from

under the driver’s seat of the U-Haul where HERNANDEZ had been

seated.      They also found a Mac-11 machine gun, a rifle magazine,

and suspected methamphetamine in a bag behind the passenger

seat, and additional ammunition in HERNANDEZ’s pockets.

        9.   HERNANDEZ’s criminal history documents confirm that

HERNANDEZ has multiple prior felony convictions, including

convictions for assault with a deadly weapon with force possible

to cause great bodily injury, felon in possession of a firearm,

and possession of a controlled substance while armed.


                      STATEMENT OF PROBABLE CAUSE

        10. Based on my review of law enforcement reports,

conversations with other law enforcement agents, law enforcement

body-camera footage, and my own knowledge of the investigation,

I am aware of the following:
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     A.    HERNANDEZ is arrested with firearms, ammunition, and
           suspected methamphetamine.

     11. On February 27, 2024, members of the OPD Violent Crime

Unit (“VCU”) were investigating a felony robbery in violation of

California Penal Code Section 211, in which HERNANDEZ was a

suspect.   According to an OPD police report, OPD detectives

confirmed that HERNANDEZ was on Postrelease Community

Supervision and had several search terms for weapons and

narcotics, and that HERNANDEZ was a convicted felon and unable

to legally possess firearms.          An OPD detective obtained a State

of California arrest warrant for HERNANDEZ.

     12. According to an OPD police report, on February 28,

2024, OPD VCU and Special Enforcement Unit (“SEU”) members were

conducting surveillance for HERNANDEZ.            At approximately 11:30

a.m., an OPD detective positively identified HERNANDEZ loading

items into a white U-Haul pickup truck with Arizona license
plate AM18583 (the “U-Haul”).         OPD detectives maintained

surveillance and saw HERNANDEZ get into the driver’s seat of the

U-Haul and drive away with a female passenger.

     13. Also according to the OPD police report, shortly after

12:00 p.m., OPD officers conducted a felony traffic stop (based

on the outstanding felony arrest warrant for HERNANDEZ) of the

U-Haul while it was parked in the east alley of K Street,

Oxnard, California, by turning on their red-and-blue forward-

facing lights.     As an OPD officer stepped out of his vehicle, he

saw HERNANDEZ (who he could see through the clear rear window of
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the U-Haul) in the driver seat reach behind the front passenger

seat and appear to place a black bag down.             Both HERNANDEZ and

the female passenger were removed from the U-Haul and detained.

     14. The OPD police report states that, during a subsequent

search of HERNANDEZ, OPD officers found several items in

HERNANDEZ’s pockets, including the following:

           a.    A clear Ziploc bag with nine unspent .38 Special

rounds of ammunition;

           b.    One spent round of ammunition casing for a .38

Special firearm;

           c.    A dark blue cell phone;

           d.    One small clear Ziploc bag containing a white

substance; and

           e.    Two hypodermic needles.

     15. According to the OPD police report, OPD detectives

also searched the U-Haul and found, among other things, the

following:

           a.    A Smith & Wesson, Model 36, .38 caliber S&W

Special revolver bearing serial number J270241, loaded with five

rounds of .38 caliber S&W Special ammunition, from under the

driver’s seat of the U-Haul where HERNANDEZ had been seated;

           b.    One unloaded Mac-11 machine gun from the bag

behind the front passenger seat that the OPD officer had earlier

seen HERNANDEZ handle through the rear window of the U-Haul;

           c.    A “NVS” rifle magazine, nineteen .30 caliber “RP”

rounds of ammunition, and one .38 special “RP” round of
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ammunition located in the same bag behind the front passenger

seat; and

             d.   Approximately 98.2 grams of a crystal-like

substance suspected to be methamphetamine and a scale located in

the same bag behind the front passenger seat.


        B.   HERNANDEZ’s Criminal History

        16. On March 1, 2024, I obtained and reviewed criminal

history documents for HERNANDEZ and learned that HERNANDEZ has

previously been convicted of numerous felony crimes punishable

by a term of imprisonment exceeding one year including, but not

limited to:

             a.   Assault with a deadly weapon with force possible

to cause great bodily injury, in violation of California Penal

Code Section 245(a)(4), in the Superior Court for the State of

California, Ventura County, Case Number 2015037346, on or about

July 7, 2016;

             b.   Felon in possession of firearm, in violation of

California Penal Code Section 29800(a), in the Superior Court

for the State of California, Ventura County, Case Number

2017029269, on or about October 10, 2018;

             c.   Possession of a controlled substance while armed,

in violation of California Health and Safety Code Section

11370.1(a), in the Superior Court for the State of California,

Ventura County, Case Number 20200018253, on or about March 19,

2021;
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           d.    Prohibited person in possession of ammunition, in

violation of California Penal Code Section 30305(a), in the

Superior Court for the State of California, Ventura County, Case

Number 2021032118, on or about December 7, 2022; and

           e.    Possession of a controlled substance while armed,

in violation of California Health and Safety Code Section

11370.1(a), in the Superior Court of California, Ventura County,

Case Number 2022003824, on or about December 7, 2022.


     C.    Interstate Nexus


     17. Based on my conversations with other law enforcement

agents, I know that on March 18, 2024, an ATF Interstate Nexus

Expert reviewed photographs of the Smith & Wesson Model 36, .38

caliber S&W Special revolver bearing serial number J270241, and

the five rounds of .38 caliber S&W Special ammunition recovered

from under the driver’s seat of the U-Haul where HERNANDEZ had
been seated.    Specifically, the ATF Interstate Nexus Expert’s

analysis confirmed the firearm and the ammunition were

manufactured outside of the State of California.             Because this

firearm and ammunition were recovered in California, there is

probable cause to believe that the firearm and ammunition moved

in and affected interstate commerce.

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                               CONCLUSION

     18. For all of the reasons described above, there is

probable cause to believe that HERNANDEZ has committed a

violation of 18 U.S.C. § 922(g)(1): Felon in Possession of a

Firearm and Ammunition.


Attested to by the applicant in                    /s/
                                              ____________________________
accordance with the requirements              Dominic Ambrosio
of Fed. R. Crim. P. 4.1 by
                                              FBI Special Agent
telephone on this 19th day of
March, 2024.



HONORABLE STEVE KIM
UNITED STATES MAGISTRATE JUDGE
